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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Borden Dairy Company

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8750 North Central Expressway
                                  Suite 400
                                  Dallas, TX 75231
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.bordendairy.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Borden Dairy Company                                                                          Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  3115

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Rider 1                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Borden Dairy Company                                                                       Case number (if known)
         Name




11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal        Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?           Various
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency      Willis Towers Watson
                                                         Contact name          Jeffrey Roberts
                                                         Phone                 (312) 288-7312


         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                              1,000-5,000                                25,001-50,000
    creditors                        50-99                                             5001-10,000                                50,001-100,000
     (on a consolidated basis)       100-199                                           10,001-25,000                              More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
     (on a consolidated basis)       $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities            $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
     (on a consolidated basis)       $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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                                             RIDER 1

    PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

        On January 5, 2020, each of the affiliated entities listed below (including the debtor in
this chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code
in the United States Bankruptcy Court for the District of Delaware. A motion will be filed with
the Court requesting that the chapter 11 cases of these entities be jointly administered for
procedural purposes only.

Entity Name                                           Federal Employer Identification Number
                                                      (EIN)

Borden Dairy Holdings, LLC                            XX-XXXXXXX
Borden Dairy Company                                  XX-XXXXXXX
Borden Dairy Company of Cincinnati, LLC               XX-XXXXXXX
Borden Transport Company of Cincinnati, LLC           XX-XXXXXXX
Borden Dairy Company of Madisonville, LLC             XX-XXXXXXX
Borden Dairy Company of Ohio, LLC                     XX-XXXXXXX
Borden Transport Company of Ohio, LLC                 XX-XXXXXXX
National Dairy, LLC                                   XX-XXXXXXX
Claims Adjusting Services, LLC                        XX-XXXXXXX
Borden Dairy Company of Alabama, LLC                  XX-XXXXXXX
Borden Dairy Company of Louisiana, LLC                XX-XXXXXXX
Borden Dairy Company of South Carolina, LLC           XX-XXXXXXX
Borden Dairy Company of Kentucky, LLC                 XX-XXXXXXX
Georgia Soft Serve Delights, LLC                      XX-XXXXXXX
Borden Dairy Company of Texas, LLC                    XX-XXXXXXX
NDH Transport, LLC                                    XX-XXXXXXX
Borden Dairy Company of Florida, LLC                  XX-XXXXXXX
RGC, LLC                                              XX-XXXXXXX
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                                  WRITTEN CONSENT OF
                                THE BOARD OF MANAGERS
                                          OF
                              BORDEN DAIRY HOLDINGS, LLC

                                          January 3, 2020

    The undersigned, constituting a Majority Vote (as defined in the Company’s Amended and
Restated Limited Liability Company Agreement, dated as of July 6, 2017 (the “Company LLC
Agreement”)) of the members (the “Members”) of the board of Managers (the “Board”) of Borden
Dairy Holdings, LLC, a Delaware limited liability company (together with all of its direct or
indirect subsidiaries, the “Company”), hereby consent to the taking of the following actions and
hereby authorize, approve and adopt, by written consent, the following resolutions pursuant to
Section 5.06(a) Company LLC Agreement:

  I.    VOLUNTARY CHAPTER 11 PETITION


                WHEREAS, the Board met today to consider the liabilities and liquidity
        situation of the Company, the strategic alternatives available to the Company, and
        the impact of the foregoing on the Company’s businesses;

                WHEREAS, the undersigned Members had the opportunity to consult with
        management and the advisors of the Company and fully consider each of the
        strategic alternatives available to the Company;

                WHEREAS, the Board previously established, in accordance with Section
        5.05 of the Company LLC Agreement, a committee of two independent Managers,
        Harold Strunk and Andrea Fischer Newman (the “Independent Committee”), to
        evaluate and make a recommendation to the Board regarding the potential filing of
        one or more voluntary petitions for relief commencing proceedings (collectively,
        the “Case”) under chapter 11 of Title 11 of the United States Code (the “Bankruptcy
        Code”) on behalf of the Company, and the Board delegated to the Independent
        Committee its powers in respect of such evaluation; and

                WHEREAS, the Independent Committee met on January 2, 2020, to
        evaluate the potential filing of the Case, and to consider other strategic alternatives
        available to the Company, following which the Independent Committee advised the
        Board at today’s meeting of their informed belief, after due deliberation, that it
        would be in the best interests of the Company, its creditors, its employees and other
        parties in interest that the Company to file the Case; and

                RESOLVED, that, in the judgment of undersigned Members, it is desirable
        and in the best interests of the Company, its creditors, its employees and other
        parties in interest, that the Company file the Case; and




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                RESOLVED, that any of the Chief Executive Officer, the President, the
        Chief Financial Officer, any Vice President, the Secretary, any Assistant Secretary,
        the Treasurer, and Assistant Treasurer, and such other officers as may be designated
        by the Chief Executive Officer (collectively, the “Authorized Officers”), acting
        alone or with one or more other Authorized Officers, be, and they hereby are,
        authorized and empowered to execute and file on behalf of the Company all
        petitions, schedules, lists, motions, applications, pleadings and other papers or
        documents as necessary to file the Case and obtain chapter 11 relief, including but
        not limited to motions to obtain the use of cash collateral and provide adequate
        protection therefor, and to take any and all further acts and deeds that they deem
        necessary, proper and desirable in connection with the Case, with a view to the
        successful prosecution of the Case; and

                RESOLVED, that the Authorized Officers be, and they hereby are,
        authorized and directed to employ the law firm of Arnold & Porter Kaye Scholer
        LLP (“Arnold & Porter”) as general bankruptcy counsel to represent and assist the
        Company in carrying out its duties under the Bankruptcy Code, and to take any and
        all actions to advance the Company’s rights and obligations, including filing any
        pleadings; and in connection therewith, the Authorized Officers are hereby
        authorized and directed to execute appropriate retention agreements, pay
        appropriate retainers prior to and immediately upon filing the Case and cause to be
        filed an application for authority to retain Arnold & Porter; and

                RESOLVED, that the Authorized Officers be, and they hereby are,
        authorized and directed to employ the law firm of Young Conway Stargatt & Taylor,
        LLP (“YCST”) as Delaware and conflicts counsel to represent and assist the
        Company in carrying out its duties under the Bankruptcy Code, and to take any and
        all actions to advance the Company’s rights and obligations, including filing any
        pleadings; and in connection therewith, the Authorized Officers are hereby
        authorized and directed to execute appropriate retention agreements, pay
        appropriate retainers prior to and immediately upon filing of the Case and cause to
        be filed an application for authority to retain YCST; and

                RESOLVED, that the Authorized Officers be, and they hereby are,
        authorized and directed to employ Donlin Recano as noticing, claims and balloting
        agent to represent and assist the Company in carrying out its duties under the
        Bankruptcy Code, and to take any and all actions to advance the Company’s rights
        and obligations; and in connection therewith, the Authorized Officers are hereby
        authorized and directed to execute appropriate retention agreements, pay
        appropriate retainers prior to and immediately upon filing of the Case and cause to
        be filed such applications as are appropriate to obtain authority to retain the services
        of Donlin Recano as noticing, claims and balloting agent; and

               RESOLVED, that the Authorized Officers be, and they hereby are,
        authorized and directed to employ any other professionals to assist the Company in
        carrying out its duties under the Bankruptcy Code; and in connection therewith, the


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        Authorized Officers are hereby authorized and directed to execute appropriate
        retention agreements, pay appropriate retainers prior to or immediately upon the
        filing of the Case and cause to be filed an appropriate application for authority to
        retain the services of any other professionals as necessary; and

                 RESOLVED, that notwithstanding any provision of the governing
        documents of Borden Dairy Holdings, LLC or any of its direct or indirect
        subsidiaries to the contrary, to the fullest extent permitted by law, no member or
        stockholder of any direct or indirect subsidiary of Borden Dairy Holdings, LLC
        shall dissociate or withdraw from such subsidiary as a member or stockholder or
        otherwise cease to be a member or stockholder of such subsidiary, or be deemed to
        have dissociated or withdrawn from such subsidiary as a member or stockholder or
        otherwise ceased to be a member or stockholder of such subsidiary, in each case as
        a consequence of the Bankruptcy (as defined below) (or other status resulting from
        the actions contemplated by these resolutions) of such subsidiary, and no such
        subsidiary shall dissolve upon the Bankruptcy of a member or stockholder (it being
        agreed and understood that for purposes of these resolutions, “Bankruptcy” means
        that a member or stockholder makes an assignment for the benefit of creditors; files
        a voluntary petition in bankruptcy; is adjudged bankrupt or insolvent, or has entered
        against itself an order for relief, in any bankruptcy or insolvency proceeding; files
        a petition or answer seeking for itself any reorganization, arrangement, composition,
        readjustment, liquidation, dissolution, or similar relief under any law; files an
        answer or other pleading admitting or failing to contest the material allegations of
        a petition filed against it in any proceeding of the foregoing nature; or seeks,
        consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
        such member, or of all or any substantial part of its assets).

 II.    RATIFICATION OF ALL PRIOR AND FUTURE ACTIONS

                RESOLVED, that in addition to the specific authorizations heretofore
        conferred upon the Authorized Officers, each of the officers of the Company or
        their designees shall be, and each of them, acting alone, hereby is, authorized,
        directed and empowered, in the name of, and on behalf of, the Company, to take or
        cause to be taken any and all such further actions, to execute and deliver any and
        all such agreements, certificates, instruments and other documents and to pay all
        expenses, including filing fees, in each case as in such officer or officers’ judgment
        shall be necessary or desirable to fully carry out the intent and accomplish the
        purposes of the Resolutions adopted herein; and

                 RESOLVED, that all acts, actions and transactions relating to the matters
        contemplated by the foregoing Resolutions done in the name of and on behalf of
        the Company, which acts would have been approved by the foregoing Resolutions
        except that such acts were taken before these resolutions were certified, are hereby
        in all respects approved and ratified; and




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                RESOLVED, that each of the undersigned hereby waives any and all
        irregularities of notice, and consents to the transaction of all business represented
        by this written consent; and

                RESOLVED, this written consent may be executed in two or more
        counterparts, each of which shall be an original and all of which together shall
        constitute one and the same written consent; and

               RESOLVED, that the execution of this written consent and delivery thereof
        by electronic or .pdf signatures shall be sufficient for all purposes and shall be
        binding upon any party who so executes.


                                          [Signature Page Follows]




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        IN WITNESS WHEREOF, the undersigned have executed this written consent as of the
date first set forth above.




                                        Adam M. Kriger




                                        Florentino Rivero Rodriguez




                                        Jose Antonio Tricio Haro




                                        Aron Schwartz




                                        Harold Strunk




                                        Andrea Fischer Newman




                                        Arquimedes Celis




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Fill in this information to identify the case:

Debtor name: Borden Dairy Company, et al.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-_____

                                                                                                                                 ¨ Check if this is an
                                                                                                                                         amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders, on a Consolidated Basis                                                                                     12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and complete      Name, telephone number,       Nature of the       Indicate if   Amount of unsecured claim
    mailing address, including zip     and email address of creditor claim               claim is      If the claim is fully unsecured, fill in only unsecured
    code                               contact                       (for example,       contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,        unliqui-      total claim amount and deduction for value of
                                                                     bank loans,         dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional        disputed
                                                                     services, and                     Total claim, if    Deduction for      Unsecured
                                                                     government                        partially          value of           claim
                                                                     contracts)                        secured            collateral or
                                                                                                                          setoff

1   CENTRAL STATES HEALTH &            Charles H. Lee                    Unfunded          þC                                                $33,163,725.00
    WELFARE                            Tel: 847-939-2481                 Withdrawal
    CENTRAL STATES SOUTHEAST           Fax: 847-518-9797                 Liability         ¨U
    AND SOUTHWEST AREAS
    HEALTH AND WELFARE AND
                                                                                           ¨D
    PENSION FUNDS
    P.O. Box 5123
    Law Department
    Des Plaines IL 60017-5123

2   LONE STAR MILK PRODUCERS           Sonya Fabien
                                       sonyafabien@lonestarmilk.com
                                                                         Trade Payable     ¨C                                                $6,148,092.66
    INC
    217 Baird Ln                       Tel: 940-378-2311                                   ¨U
    Windthorst TX 76389-6023
                                                                                           ¨D
3   CKS PACKAGING                      Dave Crompton                     Trade Payable     ¨C                                                $4,530,497.46
    350 Great Southwest Pkwy SW        laura@ckspackaging.com
    Atlanta GA 30336                   Tel: 404-699-9431                                   ¨U
                                                                                           ¨D
4   DAIRY FARMERS OF AMERICA           Dean Van Tuinen                   Trade Payable     ¨C                                                $2,706,565.31
    10220 N Ambassador Dr              egunsolus@dfamilk.com
    Ste 1000                           Tel: 816-801-6652                                   ¨U
    Kansas City MO 64153
                                                                                           ¨D
5   MARYLAND & VIRGINIA OF             dlipscomb@mdvamilk.com            Trade Payable     ¨C                                                $2,335,756.35
    LAUREL
    PO Box 602295                                                                          ¨U
    Charlotte NC 28260-2295
                                                                                           ¨D
6   TETRA PAK INC                      Johan Gudmundsson
                                       payment.remittance@tetrapak.com
                                                                         Trade Payable     ¨C                                                $2,178,288.18
    3300 Airport Rd
    Denton TX 76207                    Tel: 940-565-8800                                   ¨U
                                                                                           ¨D
7   PACKAGING CORPORATION OF           Bill Harding                Trade Payable           ¨C                                                $938,536.72
    AMERICA                            bmularkey@packagingcorp.com
    1955 West Field Court                                                                  ¨U
    Lake Forest IL 60045               Tel: 972-516-4515
                                                                                           ¨D

Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                               Page 1
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Debtor   Borden Dairy Company, et al.                                                                               Case number (if known) 20-_____

    Name of creditor and complete    Name, telephone number,       Nature of the           Indicate if   Amount of unsecured claim
    mailing address, including zip   and email address of creditor claim                   claim is      If the claim is fully unsecured, fill in only unsecured
    code                             contact                       (for example,           contingent,   claim amount. If claim is partially secured, fill in
                                                                   trade debts,            unliqui-      total claim amount and deduction for value of
                                                                   bank loans,             dated, or     collateral or setoff to calculate unsecured claim.
                                                                   professional            disputed
                                                                   services, and                         Total claim, if    Deduction for      Unsecured
                                                                   government                            partially          value of           claim
                                                                   contracts)                            secured            collateral or
                                                                                                                            setoff

8   DOUGLAS MACHINE INC              Andrew Messerich                      Trade Payable     ¨C                                                $922,730.54
    3404 Iowa St                     Tel: 320-762-6230
    Alexandria MN 56308-3345                                                                 ¨U
                                                                                             ¨D
9   SOUTHEAST MILK INC               Karen Womack                          Trade Payable     ¨C                                                $780,050.88
    PO Box 3790                      dmartin@southeastmilk.org
    Belleview FL 34421-3790          Tel: 352-347-3790                                       ¨U
                                                                                             ¨D
10 MYRTLE CONSULTING GROUP                                                 Trade Payable     ¨C                                                $694,454.67
   LLC                               Tel: 281-600-7275
   16225 ParkTen Pl                                                                          ¨U
   Ste 620
   Houston TX 77084-5155
                                                                                             ¨D
11 ORBIS CORPORATION                 Tom Atkins                            Trade Payable     ¨C                                                $641,700.58
   1055 Corporate Center Dr          danielle.heraly@menasha.com
   Oconomowoc WI 53066               Tel: 920-751-1986                                       ¨U
                                                                                             ¨D
12 PETROLEUM TRADERS                 Scott Wake
                                     hstevenson@petroleumtraders.com
                                                                           Trade Payable     ¨C                                                $598,300.28
   CORPORATION
   7120 Pointe Inverness Way         Tel: 260-469-5837                                       ¨U
   Fort Wayne IN 46804
                                                                                             ¨D
13 SILGAN IPEC                       Todd Price
                                     patricia.cluchey@silganclosures.com
                                                                           Trade Payable     ¨C                                                $593,039.92
   185 Northgate Cir
   New Castle PA 16105               Tel: 800-3774732                                        ¨U
                                                                                             ¨D
14 RED DIAMOND INC                   Steve Lowry
                                     michaeljordan@reddiamond.com
                                                                           Trade Payable     ¨C                                                $558,200.00
   400 Park Ave
   Moody AL 35004                                                                            ¨U
                                                                                             ¨D
15 SAPUTO DAIRY FOODS USA LLC Tom Fenton                                   Trade Payable     ¨C                                                $545,748.76
   1401 Elm ST                tcarvelli@southeastmilk.org
   Dallas TX 75284-0151       Tel: 214-863-2300                                              ¨U
                                                                                             ¨D
16 GOOD HUMOR BREYERS                ebusiness.support@unilever.com
                                     Tel: 203-381-3654
                                                                           Trade Payable     ¨C                                                $529,593.91
   909 Packerland Drive
   Green Bay WI 54307                Fax: 920- 497-6523                                      ¨U
                                                                                             ¨D
17 ALEX C FERGUSSON LLC              Mike Hinkle                           Trade Payable     ¨C                                                $497,293.84
   5121 Coffey Ave Ste D             mpowell@afco.net
   Chambersburg PA 17201             Tel: 717-264 9147                                       ¨U
                                                                                             ¨D
18 KDV LABEL CO INC                  Darrell O'Brien                       Trade Payable     ¨C                                                $410,959.24
   431 W Newhall Ave                 accounting@kdvlabel.com
   Waukesha WI 53186                 Tel: 262-548-6945                                       ¨U
                                                                                             ¨D




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                 Page 2
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Debtor   Borden Dairy Company, et al.                                                                            Case number (if known) 20-_____

   Name of creditor and complete      Name, telephone number,       Nature of the       Indicate if   Amount of unsecured claim
   mailing address, including zip     and email address of creditor claim               claim is      If the claim is fully unsecured, fill in only unsecured
   code                               contact                       (for example,       contingent,   claim amount. If claim is partially secured, fill in
                                                                    trade debts,        unliqui-      total claim amount and deduction for value of
                                                                    bank loans,         dated, or     collateral or setoff to calculate unsecured claim.
                                                                    professional        disputed
                                                                    services, and                     Total claim, if    Deduction for      Unsecured
                                                                    government                        partially          value of           claim
                                                                    contracts)                        secured            collateral or
                                                                                                                         setoff

19 RETAIL, WHOLESALE, AND                                               Unfunded          þC                                                $391,040.00
   DEPARTMENT STORE UNION,            Tel: 212-684-5300                 Withdrawal
   LOCAL 323                                                            Liability         ¨U
   RETAIL, WHOLESALE AND
   DEPARTMENT STORE UNION,
                                                                                          ¨D
   AFL-CIO
   370 7th Ave
   Ste 501
   New York NY 10001

20 MANSFIELD OIL CO OF                Tara Hernandez                    Trade Payable     ¨C                                                $363,998.89
   GAINESVILLE                        thernandez@mansfieldoil.com
   1025 Airport Pkwy                  Tel: 678-207-4768                                   ¨U
   Gainesville GA 30501
                                                                                          ¨D
21 SENSIENT FLAVORS INC               Dennis Ball                       Trade Payable     ¨C                                                $358,842.98
   5700 W Raymond St                  carissa.dahik@sensient.com
   Indianapolis IN 46241              Tel: 317-243-3521                                   ¨U
                                                                                          ¨D
22 GANDY'S DAIRIES INC                                                  Trade Payable     ¨C                                                $298,952.22
   2515 McKinney Ave                  Tel: 800-334-3865
   Dallas TX 75201                                                                        ¨U
                                                                                          ¨D
23 PULLMAN SUGAR LLC                  Brandon Boomsma             Trade Payable           ¨C                                                $272,473.42
   700 E 107th St                     accounting@pullmansugar.com
   Chicago IL 60628-3806                                                                  ¨U
                                      Tel: 773-260-9165
                                                                                          ¨D
24 CITROFRUT USA, LLC                 Ricardo Martinez Zambrano         Trade Payable     ¨C                                                $266,380.50
   4200 W Ursula Ave                  sonia.rivas@citrofrut.com
   Mcallen TX 78503                   Tel: 877-248-7648                                   ¨U
                                                                                          ¨D
25 PLASTICS INC                       Mary Blankenship
                                      mblankenship51@bellsouth.net
                                                                        Trade Payable     ¨C                                                $245,405.59
   PO Box 159
   Greensboro AL 36744                Tel: 334-624-8801                                   ¨U
                                                                                          ¨D
26 LISMA LOGISTICS INC                Victor Rodriguez                  Trade Payable     ¨C                                                $234,691.62
   790 Thorpe Rd                      Tel: 954-665-6655
   Orlando FL 32824-8013                                                                  ¨U
                                                                                          ¨D
27 ACE AMERICAN INSURANCE CO          shashank.khandelwal@chubb.com
                                      Tel: 800-323-4105
                                                                        Trade Payable     ¨C                                                $229,475.00
   Dept. Ch 10123
   Palantine IL 60055-0123                                                                ¨U
                                                                                          ¨D
28 W W GRAINGER INC                   Cody Bryan
                                      financialservices@grainger.com
                                                                        Trade Payable     ¨C                                                $223,385.69
   100 Grainger Parkway
   Lake Forest IL 60045               Tel: 800-472-4643                                   ¨U
                                                                                          ¨D
29 APPLIED INDUSTRIAL                 Tom Granata                       Trade Payable     ¨C                                                $219,551.58
   TECHNOLOGIES                       RVera@Applied.com
   1 Applied Plz                      Tel: 972-506-0612                                   ¨U
   Cleveland OH 44115
                                                                                          ¨D


Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             Page 3
                           Case 20-10010-CSS              Doc 1      Filed 01/05/20       Page 20 of 25
Debtor   Borden Dairy Company, et al.                                                                      Case number (if known) 20-_____

   Name of creditor and complete    Name, telephone number,       Nature of the   Indicate if   Amount of unsecured claim
   mailing address, including zip   and email address of creditor claim           claim is      If the claim is fully unsecured, fill in only unsecured
   code                             contact                       (for example,   contingent,   claim amount. If claim is partially secured, fill in
                                                                  trade debts,    unliqui-      total claim amount and deduction for value of
                                                                  bank loans,     dated, or     collateral or setoff to calculate unsecured claim.
                                                                  professional    disputed
                                                                  services, and                 Total claim, if    Deduction for      Unsecured
                                                                  government                    partially          value of           claim
                                                                  contracts)                    secured            collateral or
                                                                                                                   setoff

30 TROPIC OIL COMPANY                                             Trade Payable     ¨C                                                $210,910.01
   PO Box 1668                      Tel: 863-676-3910
   Houston TX 77251-1668                                                            ¨U
                                                                                    ¨D




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                          Page 4
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                            Chapter 11

         BORDEN DAIRY COMPANY, et al.,                                     Case No. 20-[_____] ([__])

                                            Debtors.1                      (Joint Administration Requested)


                  CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
                        TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                  Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

         Procedure, the above-captioned debtors and debtors in possession (each a “Debtor” and,

         together, the “Debtors”) hereby state as follows:

                  1.      A list of Debtor, Borden Dairy Holdings, LLC’s equity interest holders, their

         addresses, and the nature of their equity interests is attached hereto as Exhibit A.

                  2.      Borden Dairy Holdings, LLC owns 100% of the equity interests of Debtor,

         Borden Dairy Company.

                  3.      Borden Dairy Company owns 100% of the equity interests of Debtor, National

         Dairy, LLC.

                  4.      National Dairy, LLC owns 100% of the equity interests in each of the Debtors:

         (a) Claims Adjusting Services, LLC; (b) Borden Dairy Company of Alabama, LLC; (c) Borden


         1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Borden Dairy Company (1509); Borden Dairy Holdings, LLC (8504); National Dairy, LLC
             (9109); Borden Dairy Company of Alabama, LLC (5598); Borden Dairy Company of Cincinnati, LLC (1334);
             Borden Transport Company of Cincinnati, LLC (3462); Borden Dairy Company of Florida, LLC (5168);
             Borden Dairy Company of Kentucky, LLC (7392); Borden Dairy Company of Louisiana, LLC (4109); Borden
             Dairy Company of Madisonville, LLC (7310); Borden Dairy Company of Ohio, LLC (2720); Borden Transport
             Company of Ohio, LLC (7837); Borden Dairy Company of South Carolina, LLC (0963); Borden Dairy
             Company of Texas, LLC (5060); Claims Adjusting Services, LLC (9109); Georgia Soft Serve Delights, LLC
             (9109); NDH Transport, LLC (7480); and RGC, LLC (0314). The location of the Debtors’ service address is:
             8750 North Central Expressway, Suite 400, Dallas, TX 75231.
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         Dairy Company of Louisiana, LLC; (d) Borden Dairy of South Carolina, LLC; (e) Borden Dairy

         of Kentucky, LLC; (f) Georgia Soft Serve Delights, LLC; (g) Borden Dairy Company of

         Cincinnati, LLC; (h) Borden Dairy Company of Texas, LLC; (i) NDH Transport, LLC;

         (j) Borden Dairy Company of Ohio, LLC; (k) Borden Dairy Company of Florida, LLC;

         (l) Borden Dairy Company of Madisonville, LLC; and (m) RGC, LLC.

               5.     Borden Dairy Company of Cincinnati, LLC owns 100% of the equity interests in

         Debtor, Borden Transport Company of Cincinnati, LLC.

               6.     Borden Dairy of Ohio, LLC owns 100% of the equity interests in Debtor, Borden

         Transport Company of Ohio, LLC.




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                                  EXHIBIT A




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                               Borden Dairy Holdings, LLC - Member Schedule

                                                               Aggregate       Number of     Aggregate
                      Class A Members                           Capital          Class A     Percentage
                                                              Contribution      Interests     Interest
    ACON Dairy Investors, L.L.C.
    1133 Connecticut Avenue, NW, Suite 700
    Washington, DC 20036
    Attention: Aron Schwartz                                  $48,850,000       43,977,963    46.79%
               Teresa Bernstein
    E-Mail: aschwartz@aconinvestments.com
            tbernstein@aconinvestments.com

    Tony Sarsam
    6815 Tulip Lane
                                                               $750,000          622,037      00.66%
    Dallas, TX 75230
    E-Mail: Tony.Sarsam@bordendairy.com

                                             Class A Total:   $49,600,000       44,600,000    47.45%

                      Class B Members                          Aggregate       Number of     Aggregate
                                                                Capital          Class B     Percentage
                                                              Contribution      Interests     Interest

    New Laguna, LLC
    c/o Laguna Dairy, S. de R.L. de C.V.
    Calzada Carlos Herrera Araluce 185
    Parque Industrial Carlos A Herrera Araluce
    Gomez Palacio, Durango 35079
    United Mexican States
    Attention: Frine Galvan
    E-mail: frine.galvan@grupolala.com                        $51,400,000       46,400,000    49.36%

                                             Class B Total:   $51,400,000       46,400,000    49.36%
                                                               Aggregate       Number of     Aggregate
                      Class C Members                           Capital          Class C     Percentage
                                                              Contribution      Interests     Interest
    Tony Sarsam
    6815 Tulip Lane
    Dallas, TX 75230
    E-Mail: Tony.Sarsam@bordendairy.com                           $0            3,000,000      3.19%

                                             Class C Total:       $0            3,000,000      3.19%




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